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                                  5
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                                  6
                                  7                               UNITED STATES DISTRICT COURT
                                  8                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                  9
                                 10   LANCE HODGE,                                       )    CASE NO. CV12-00780 PSG (Ex)
                                                                                         )
                                 11                             Plaintiff,               )
                                                                                         )
WEISBERG WILLNER & SLOANE, ALC




                                 12   vs.                                                )
                                                                                         )
                                 13   The Trustees of the Antelope Valley                )    [PROPOSED] ORDER
                                      Community College District: STEVE                  )    GRANTING DISMISSAL OF
      GLADSTONE MICHEL




                                 14   BUFFALO, EARL J. WILSON,                           )    ENTIRE ACTION
                                      BETTY WEINKE, MICHAEL                              )
                                 15   ADAMS, JACK SEEFUS, and                            )
                                      MAYELA MONTANO, all in their                       )
                                 16   individual and official capacities; DR.            )
                                      JACKIE L. FISHER, SR., in his                      )
                                 17   individual and official capacities as              )
                                      Superintendent/President of the                    )
                                 18   Antelope Valley Community College                  )
                                      District; SHARON LOWRY, in her                     )
                                 19   individual and official capacities as              )
                                      Assistant Superintendent/Vice                      )
                                 20   President of Academic Affairs;                     )
                                      SHANE TURNER, in his individual                    )
                                 21   and official capacities as Vice                    )
                                      President of Human Resources and                   )
                                 22   Employee Relations; DR. KAREN                      )
                                      COWELL, in her individual and                      )
                                 23   official capacities as Dean of Health              )
                                      Science,                                           )
                                 24                                                      )
                                                                Defendants.              )
                                 25                                                      )
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                                      57096 [Prop]OrderDismissingAction.doc              1
                                                                      [Proposed] Order Dismissing Entire Action
                                                                                                              CV12-00780 PSG (Ex)
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                                  1           The Court has reviewed and considered the Stipulation to Dismiss Entire
                                  2   Action. For good cause having been shown, the Court orders as follows:
                                  3           1.       This action is dismissed with prejudice as to the entire case as to all
                                  4   Defendants as of the date of this Order.
                                  5           2.       Except as may have been agreed, the parties shall bear their own
                                  6
                                      respective costs and attorneys’ fees.
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                                              IT IS SO ORDERED.
                                  8
                                  9   Dated:
                                 10                                                           United States District Judge
                                 11
WEISBERG WILLNER & SLOANE, ALC




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      GLADSTONE MICHEL




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                                      57096 [Prop]OrderDismissingAction.doc              2
                                                                      [Proposed] Order Dismissing Entire Action
                                                                                                              CV12-00780 PSG (Ex)
